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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   DENNIS S. WAKS, Bar #142581
     Supervising Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   ATEF SHEHATA
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     NO. CR-S-10-259 JAM
                                     )
12                  Plaintiff,       )     STIPULATION AND [PROPOSED] ORDER
                                     )
13        v.                         )     Date: November 29, 2011
                                     )     Time: 9:30 a.m.
14   ATEF SHEHATA, et al.,           )     Judge: Hon. John A. Mendez
                                     )
15                  Defendants.      )
     _______________________________ )
16
17        IT IS HEREBY STIPULATED between the United States of America,
18   through its undersigned counsel, Assistant United States Attorney R.
19   Steven Lapham, Special Assistant United States Attorney, Peter M.
20   Williams, and defendants Atef Shehata, through his undersigned counsel
21   Supervising Assistant Federal Defender Dennis S. Waks, Atif Henan,
22   through his undersigned counsel Alan Eisner, defendant Samy Girgis,
23   through his undersigned counsel Harvey E. Byron, and defendant Soheir
24   Girgis, through her undersigned counsel Robert Helfend, that the status
25   conference presently set in this matter for October 11, 2011 be
26   continued to November 29, 2011, at 9:30 a.m.
27        The parties stipulate and agree that the setting is necessary to
28   permit defense counsel to review discovery of approximately 12,000
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 1   pages provided by the government.
 2        The parties further stipulate and agree that this is a complex
 3   case within the meaning of 18 U.S.C § 3161 (h)(7)(B)(ii) and that the
 4   exclusion of time during the period needed for defense counsel’s
 5   reasonable time for effective preparation, taking into account the
 6   exercise of due diligence within the meaning of 18 U.S.C § 3161 (h)
 7   (7)(B)(iv), and that the ends of justice served by granting exclusion
 8   of time therefore outweigh the best interests of the public and the
 9   defendants in a speedy trial pursuant to 18 U.S.C § 3161 (h) (7)(A);
10   time should be excluded from the date of this order to the new date of
11   November 29, 2011.
12   Dated:    October 7, 2011           Respectfully Submitted
13                                       DANIEL J. BRODERICK
                                         Federal Defender
14
15
                                         /s/ Dennis S. Waks
16                                       DENNIS S. WAKS
                                         Supervising Assistant Federal Defender
17                                       Attorney for Atef Shehata
18
19                                       /s/ Dennis S. Waks for
                                         ALAN EISNER Attorney for
20                                       ATIF HENAN
21
22                                       /s/ Dennis S. Waks for
                                         HARVEY E. BYRON Attorney for
23                                       SAMY GIRGIS
24
25                                       /s/ Dennis S. Waks for
                                         ROBERT M HELFEND Attorney for
26                                       SOHEIR GIRGIS
27
28                                             2
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 1                                       /s/ Dennis S. Waks for
                                         PETER M. WILLIAMS
 2                                       Special Assistant U.S. Attorney
 3
                                         /s/ Dennis S. Waks for
 4                                       R. STEVEN LAPHAM, U.S. Attorney
 5                                           ORDER
 6           The status conference is continued to November 29, 2011, at 9:30
 7   a.m.    For the reasons set forth above, the court finds that the ends of
 8   justice to be served by granting a continuance outweigh the best
 9   interests of the public and the defendants in a speedy trial and
10   therefore excludes time under the Speedy Trial Act through November 29,
11   2011.
12    IT IS SO ORDERED.
13
14   Dated: October 7, 2011.                   /s/ John A. Mendez
                                           HON. JOHN A. MENDEZ
15                                         United States District Judge

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